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                         IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF IDAHO


                                                 )
    AZAD HAJI ABDULLAH,                                 Case No. 1:17-cv-00098-DCN
                                                 )
             Petitioner,
                                                 )      CAPITAL CASE
                                                 )
    v.
                                                 )      MOTION FOR SUBSTITUTION OF
                                                 )
    TIM RICHARDSON, 1                                   COUNSEL
                                                 )
    Warden, Idaho Maximum Security
                                                 )
    Institution,
                 Respondent.                     )
                                                 )
                                                 )

         With this motion, the Federal Defender Services of Idaho (“FDSI”) seeks to withdraw as

counsel for petitioner Azad Abdullah and substitute the Federal Community Defender Office for

the Eastern District of Pennsylvania (the “FCDO”) as new counsel for Mr. Abdullah in these

habeas proceedings. In support of this motion, undersigned counsel respectfully state as follows:




1
 Tim Richardson is now Warden of the Idaho Maximum Security Institution. See
https://www.idoc.idaho.gov/content/locations/prisons/idaho_maximum_security_institution. As
such, he should be substituted in as the respondent in this case. See Rule 2(a) of the Rules
Governing Section 2254 Cases; Fed. R. Civ. P. 25(d).


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                               PROCEDURAL BACKGROUND

       In November 2004, an Ada County jury found Mr. Abdullah guilty of first-degree murder

and five other felonies and thereafter found in favor of a death sentence for the murder. State v.

Abdullah, 348 P.3d 1, 20 (Idaho 2015). On March 4, 2005, the trial court sentenced Mr.

Abdullah to death for first-degree murder, sentenced him to 80 years in prison for the other

convictions, and filed its judgment of conviction and sentence. Id. at 28.

       On March 11, 2005, Mr. Abdullah appealed, and on April 15, 2005, he filed his first post-

conviction petition. Id. On October 14, 2011, following the filing of an amended petition and an

evidentiary hearing, the district court denied all requested post-conviction relief and entered a

final judgment dismissing Mr. Abdullah’s petition. Id. at 29. Mr. Abdullah appealed on

November 25, 2011, and in the consolidated appeal the Idaho Supreme Court affirmed his

convictions, sentences, and the denial of post-conviction relief on March 2, 2015. Id. at 20, 29.

The United States Supreme Court denied Mr. Abdullah’s petition for certiorari on February 29,

2016. Abdullah v. Idaho, 577 U.S. 1146 (2016).

       Mr. Abdullah filed another petition for post-conviction relief in 2013, largely based on

ineffective assistance on appeal, while the consolidated appeal was pending but before issuance

of the Idaho Supreme Court’s decision in 2016. See Abdullah v. State, No. 46497, --- P.3d ----,

2021 WL 1305844 (Idaho 2021) (raising among other issues a variety of ineffective assistance

on appeal claims). The district court denied the petition in November 2018, and the Idaho

Supreme Court affirmed the dismissal of the successive petition on April 8, 2021. Id. Upon

denial of a rehearing petition, the Idaho Supreme Court issued its remittitur on June 30, 2021.

See Ex. 1.




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        This Court, through Judge Lodge, appointed the FDSI’s Capital Habeas Unit (“CHU”) to

represent Mr. Abdullah in his capital habeas case in August 2015 and granted him in forma

pauperis status in a miscellaneous case that preceded this one. See Abdullah v. Ramirez, No. 1-

15-mc-08251-BLW (D. Idaho 2015) (Dkt. 3). That case was subsequently transferred to Judge

Winmill. In February 2017, Mr. Abdullah filed a 260-page habeas petition with 74 claims under

the current case number. Dkt. 1. After hearing from the parties, this Court selected six claims

for briefing on the merits, Dkt. 16, and the merits of those claims were fully briefed in 2019,

Dkts. 17, 20, 26. On August 6, 2019, the case was transferred from Judge Winmill to Chief

Judge Nye. Dkt. 21. The merits briefing remains pending.

        During its investigation of the case, the CHU discovered a Brady violation based on facts

surrounding an affair between the lead investigator and the second-chair prosecutor. Mr.

Abdullah’s state counsel, John Kormanik, filed a state post-conviction petition asserting the

Brady claim in September 2020. See Ex. 2. The state district court denied the petition in

January 2021. See Ex. 3. An appeal has been docketed at the Idaho Supreme Court and briefing

is in progress.

                     REQUEST FOR SUBSTITTUTION OF COUNSEL

        Mr. Abdullah and the CHU request that this Court allow the CHU to withdraw and

simultaneously appoint the FCDO as Mr. Abdullah’s counsel, substituting in place of the CHU.

Without going into the details, the CHU and Mr. Abdullah have had a breakdown in their

attorney-client relationship, which necessitates, in the professional judgment of the CHU’s

Supervising Attorney Deborah Czuba, withdrawal of the CHU and its replacement as counsel. In

contacting the FCDO, Ms. Czuba and the CHU sought out competent, capable counsel who have

the skill and resources to substitute in as counsel, conduct the litigation of Mr. Abdullah’s habeas




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petition on a timely basis and file an amended habeas petition by June 30, 2022, the time when

Mr. Abdullah’s one year statute of limitations expires. See 28 U.S.C. § 2244(d)(1)(A) (providing

that the statute of limitations for habeas petitions is one year, running from the date on which the

judgment became final); § 2244(d)(2) (indicating that the limitations period is tolled when a

“properly filed” post-conviction petition is pending in state court); Abdullah, 2021 WL 1305844,

at *2, 6–13 (noting that Mr. Abdullah’s appellate-ineffectiveness petition in state court was filed

before his direct appeal was concluded and addressing Mr. Abdullah’s appellate-ineffectiveness

claims on the merits). Ms. Czuba requested that the FCDO agree to seek an appointment to act

as counsel for Mr. Abdullah and substitute in for her office. Mr. Abdullah also expressed his

desire to have the FCDO appointed as co-counsel. The FCDO is willing to substitute in place of

the CHU, believes that it can responsibly assume this representation as counsel, and has signed

onto this motion. The FCDO represents that it will be able to file an amended petition by June

30, 2022, and that it has the resources to devote to this case and meet its ongoing obligations to

Mr. Abdullah and this Court through the completion of the case.

          Mr. Abdullah remains indigent and is entitled to the appointment of counsel in this

matter. 18 U.S.C. § 3599(a)(2) (“In any post conviction proceeding under section 2254 or 2255

of title 28, United States Code, seeking to vacate or set aside a death sentence, any defendant

who is or becomes financially unable to obtain adequate representation or investigative, expert,

or other reasonably necessary services shall be entitled to the appointment of one or more

attorneys and the furnishing of such other services in accordance with subsections (b) through

(f).”).

          Mr. Abdullah has consented to representation by the FCDO, if this Court grants the

substitution motion and appoints the FCDO. The FCDO has recently completed the




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administrative approvals necessary for it to be appointed to an out of district case such as this,

including notification to Chief Judge Thomas of the Ninth Circuit, and is prepared to begin

representation of Mr. Abdullah immediately upon this Court’s approval of the appointment.

       The FCDO is qualified for appointment under § 3599. The office has a Capital Habeas

Unit that specializes in capital habeas corpus litigation under 28 U.S.C. § 2254. That unit

consists of attorneys who specialize in capital habeas corpus and post-conviction litigation. The

unit is supervised by Shawn Nolan. Mr. Nolan has been licensed to practice in Pennsylvania

since 1989 and has exclusively handled capital post-conviction cases for the past eighteen years.

The FCDO currently represents two death-sentenced prisoners within the Ninth Circuit. See,

e.g., Prince v. Davis, No. 16-cv-00871-BAS-KSC (S.D. Cal.); Hamilton v. Gittere, No. 3:18-cv-

00555-RFB-WGC (D. Nev.). The FCDO has also represented capital habeas petitioners in other

federal courts in various jurisdictions see e.g. King v. Parker, No. 3:18-cv-01234 (M.D. Tenn.);

Caudill v. Conover, No. 5:10-084-DCR (E.D. Ky.); Foley v. Hart, No. 5:17-cv-00471-REW

(E.D. Ky.); Hasan v. Ishee, No. 1:03-cv-00288-SJD-MRM (S.D. Ohio); Lang v. Shoop, No.

5:12-cv-2923-JZ (N.D. Ohio); Mullis v. Thaler, No. 3:13-cv-00121 (S.D. Texas); Wooten v.

Norris, No. 5:03-cv-00370-SWW (E.D. Ark); Rankin v. Norris, No. 5:06-MC-00001-JM (E.D.

Ark.); Winston v. Pearson, 7:07-cv-00364-SGW (W.D. Va.), and has also represented more than

a dozen federal capitally sentenced petitioners. See e.g., United States v. Rodriguez, 2:04-cr-

00055-RRE (D.N.D.); United States v. Ebron, No. 1:08-cr-36-MAC-ESH (E.D. Tex.); United

States v. Fulks, 4:02-mj-00992-TER (D.S.C.); United States v. Jackson, 1:16-cv-00212-MR

[1:00-cr-00074-MR] (W.D.N.C.).

       Capital post-conviction litigation requires specialized knowledge and experience. See,

e.g., 18 U.S.C. § 3599(d) (acknowledging the unique and complex nature of capital habeas




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litigation); McFarland v. Scott, 512 U.S. 849, 855–56 (1994) (same, and noting that “th[e

Supreme] Court’s death penalty jurisprudence unquestionably is difficult even for a trained

lawyer to master” (quoting Murray v. Giarratano, 492 U.S. 1, 28 (1989)). The FCDO attorneys

possess such specialized knowledge and experience. Since 1995, the FCDO has represented

scores of death-sentenced prisoners in federal district courts, the Courts of Appeals, and the

United States Supreme Court.

       In addition to representing petitioners in capital federal habeas corpus cases across the

country, the FCDO’s capital lawyers have litigated five substantive cases before the United

States Supreme Court: Sattazahn v. Pennsylvania, 537 U.S. 101 (2003); Rompilla v. Beard, 545

U.S. 374 (2005); Pace v. DiGuglielmo, 544 U.S. 408 (2005); Beard v. Kindler, 558 U.S. 53

(2009); and Williams v. Pennsylvania, 136 S. Ct. 1899 (2016). Its capital lawyers have also

served on the faculties of death-penalty and/or habeas corpus training seminars for numerous

organizations and entities including, inter alia, the Administrative Office of the United States

Courts Habeas Corpus Training and Assistance Project, the National Institute for Trial

Advocacy, the NAACP Legal Defense and Education Fund, the American Bar Association Death

Penalty Representation Project, the Pennsylvania Bar Institute, the National Association of

Criminal Defense Lawyers, and the Pennsylvania Association of Criminal Defense Lawyers.

       The FCDO has been established by the Administrative Office of the United States Courts

as a Community Defender Organization and is recognized as the Federal Defender Office for the

United States District Court for the Eastern District of Pennsylvania. Since 1995, the FCDO has

received a sustaining grant from the Administrative Office of the United States Courts to

represent death-sentenced prisoners in federal habeas corpus proceedings. Because of its

sustaining grant, the FCDO will not request from this Court any funds for attorney fees,




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investigation or travel expenses, expert witness expenses (should expert witnesses be needed), or

any other expenses.

       The CHU and FCDO therefore respectfully request that this Court grant this motion,

allow the CHU to withdraw as counsel, and appoint the Federal Community Defender Office for

the Eastern District of Pennsylvania as counsel for Mr. Abdullah.

DATED this 15th day of October 2021.

 FEDERAL COMMUNITY DEFENDER                                FEDERAL DEFENDER
 OFFICE FOR THE EASTERN DISTRICT                           SERVICES OF IDAHO
 OF PENNSLYVANIA
                                                           /s/ Bruce D. Livingston
 /s/ Shawn Nolan                                           Bruce D. Livingston
 Shawn Nolan
                                                           /s/ Jonah J. Horwitz
                                                           Jonah J. Horwitz

                                                           Attorneys for Petitioner




                                CERTIFICATE OF SERVICE

I hereby certify that on the 15th day of October 2021, I electronically filed the foregoing
document with the Clerk of the Court using the CM/ECF system, which is designed to send a
Notice of Electronic Filing to persons including the following:

L. LaMont Anderson
lamont.anderson@ag.idaho.gov


                                                     /s/ Julie Hill
                                                     Julie Hill




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